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                             IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF NORTH CAROiqfijflN
                                      SOUTHERN DIVISION        ON       a'PEN COURT
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                                        CASE No., ·.ttl. U-\ 1-1-0( l)             0~if,A..Moore, J-;-r.--.,&.,__
                                                                                   E    istrict Court ·• erk
                                                                                    astern District of Ne
            UNITED STATES OF AMERICA                      )
                                                          )
                  V.                                      )      INDICTMENT
                                                          )
            JESSE GABRIEL MARKS                           )


            The Grand Jury charges:

                                               COUNT ONE
                                                Conspiracy

                  Beginning on a date unknown, but no later than in or about November 2016,

            the exact date being unknown, and continuing up to and including on or about

            January 1, 2019, in the Eastern District of North Carolina· and elsewhere, the

            defendant, JESSE GABRIEL MARKS, did knowingly and intentionally, combine,

            conspire, confederate, agree and have a tacit understanding with other persons,

            known and unknown to the Grand Jury, to knowingly and intentionally manufacture,

            distribute, dispense and possess with the intent to distribute five hundred (500)

            grams or more of a mixture and substance containing a detectable amount of

            methamphetamine, a Schedule II controlled substance, and one hundred (100) grams

            or more of heroin, a Schedule I controlled substance, in violation of Title 21, United·

            States Code, Section 841(a)(l).

                  All in violation of Title 21, United States Code, Section 846.




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                                    COUNT TWO

       On or about October 16, 2018, in the Eastern District of North Carolina, the

defendant, JESSE GABRIEL lVIARKS, did knowingly and intentionally distribute a

quantity of a mixture and substance containing a detectable amount of

methamphetamine, a Schedule II controlled substance, in violation of Title 21, United

States Code, Section 84l(a)(l).

                                  COUNT THREE

       On or about October 19, 2018, in the Eastern District of North Carolina, the

defendant, JESSE GABRIEL lVIARKS, did knowingly and intentionally distribute a

quantity of a mixture and substance containing a detectable amount of

methamphetamine, a Schedule II controlled substance, and a quantity of heroin, a

Schedule I controlled substance, in violation of Title 21, United States Code, Section

841(a)(l).

                                   COUNT FOUR

      Beginning on or about December 27, 2018, and continuing to on or about

December 28, 2018, in the Eastern District of North Carolina, the defendant, JESSE

GABRIEL lVIARKS, did knowingly and intentionally possess with the intent to
                                                                                   '
distribute· five (5) grams or more of methamphetamine, a Schedule II controlled

substance, in violation of Title 21, United States Code, Section 841(a)(l). "




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                                     FORFEITURE

      The defendant is hereby given notice that all of the defendant's interest in all

of the property specified herein is subject to forfeiture.

      Upon conviction of one or more of the offense(s) set forth in Counts One through

Three of this Indictment, the defendant shall forfeit to the United States, pursuant

to 21 U.S.C. § 853(a), any property constituting, or derived from, any proceeds

obtained, directly or indirectly, as a result of said offense(s) and any property used,

or intended to be used, in any manner or part, to commit, or to facilitate the

commission of the said offense(s).

      If any of the above-described forfeitable property, as a result of any act or

omission of a defendant-

   (1) cannot be located upon the exercise of due diligence;

   (2) has been transferred or sold to, or deposited with, a third party;

   (3) has been placed beyond the jurisdiction of the court;

   (4) has been substantially diminished in value; or

   (5) has been commingled with other property which cannot be divided without

      difficulty;




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                   it is the intent of the United States, pursuant to Title 21, United States Code, Section

                   853(p), to seek forfeiture of any other property of said defendant up to the value of

                   the forfeitable property described above.

                                                                  A TRUE BIL~




                                                                  Date:   ,tJ ... {a -/ 'i
                   ROBERT J. HIGDON JR.
                   United States Attorney


                     ~C-~
                   ERIN C. BLONDEL




                   Assis ant United States Attorney




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